            Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 1 of 15




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 SUSAN LUDWIG, SHEILA
 CARRASQUILLO, and NANCY DE
                                                 Case No.: _____________________
 BLOCK, individually and on behalf of a
 collective of others similarly-situated,        INDIVIDUAL AND COLLECTIVE ACTION
                                                 COMPLAINT
                         Plaintiffs,
                                                 JURY TRIAL DEMANDED
             -against-
                                                 Electronically Filed
 SPEEDWAY LLC,

                         Defendant.


                COMPLAINT – INDIVIDUAL AND COLLECTIVE ACTION

       Plaintiffs Susan Ludwig, Sheila Carrasquillo, and Nancy De Block (together as

“Plaintiffs”), in their individual capacities, and on behalf of a proposed collective of similarly-

situated female employees, bring this action to address gender discrimination in employee pay

practices perpetrated by Defendant Speedway LLC (“Speedway”) in violation of the Equal Pay

Act of 1963 (“Equal Pay Act”), 29 U.S.C. § 206, et seq. Based on their personal knowledge with

regards to Plaintiffs and Plaintiffs’ actions, and on information and belief as to all other matters,

Plaintiffs allege as follows:

                                         THE PARTIES

                                             Plaintiffs

       1.       Plaintiff Susan Ludwig (“Ms. Ludwig”) is an adult female residing in Philadelphia,

Pennsylvania. From approximately March 2015 until January 2018, Ms. Ludwig was an employee

of Speedway, as defined by the Equal Pay Act. From approximately March 2015 until January

2018, Ms. Ludwig was a General Manager. As a salaried General Manager, Ms. Ludwig was

consistently and systematically paid less than her male counterparts for the same work. Ms.
            Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 2 of 15




Ludwig executed a Consent to Join form pursuant to 29 U.S.C § 216(b), which is attached and

incorporated as Exhibit A.

       2.       Plaintiff Sheila Carrasquillo (“Ms. Carrasquillo”) is an adult female residing in

Philadelphia, Pennsylvania.      From approximately March 2018 until February 2019, Ms.

Carrasquillo was an employee of Speedway, as defined by the Equal Pay Act. From approximately

June 2018 until February 2019, Ms. Carrasquillo was a salaried General Manager. As a salaried

General Manager, Ms. Carrasquillo was consistently and systematically paid less than her male

counterparts for the same work. Ms. Carrasquillo executed a Consent to Join form pursuant to 29

U.S.C § 216(b), which is attached and incorporated as Exhibit B.

       3.       Plaintiff Nancy De Block (“Ms. De Block”) is an adult female residing in

Glenwood, New Jersey. From approximately 2014 until July 2017, Ms. De Block was an

employee of Speedway, as defined by the Equal Pay Act. From approximately 2014 until July

2017, Ms. De Block was a salaried General Manager. As a salaried General Manager, Ms. De

Block was consistently and systematically paid less than her male counterparts for the same work.

Ms. De Block executed a Consent to Join form pursuant to 29 U.S.C § 216(b), which is attached

and incorporated as Exhibit C.

                                           Defendant

       4.       Defendant Speedway LLC (“Speedway”) is Delaware limited liability company,

with its principal place of business in 539 South Main Street, Findlay, Ohio 45840-3229. Upon

information and belief, Speedway LLC is a wholly-owned subsidiary of Marathon Petroleum

Corporation. Speedway LLC operates the second largest chain of company-owned and operated




                                            2
               Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 3 of 15




retail gasoline and convenience stores in the United States, with approximately 3,900 convenience

stores in 36 states throughout the Midwest, East Coast and Southeast.1

          5.       At all times relevant to this action, Speedway was an employer as defined by the

Equal Pay Act. At all times relevant to this action, Defendant Speedway acted as Plaintiffs’

employer.

          6.       At all times relevant herein, Defendant has been an employer within the meaning

of Section 3(d) of the FLSA. 29 U.S.C. § 203(d).

          7.       At all times relevant herein, Defendant has been an enterprise within the meaning

of Section 3(r) of the FLSA. 29 U.S.C. § 203(r).

          8.        At all times relevant herein, Defendant has been an enterprise engaged in

commerce or the production of goods for commerce within the meaning of Section 3(s)(1) of the

FLSA because it has had employees engaged in commerce or in the production of goods for

commerce, or employees handling, selling, or otherwise working on goods or materials that have

moved in or were produced for commerce by any person, 29 U.S.C. § 203(s)(1). Further,

Speedway has had (and has) a gross volume of sales, made or done business in an amount of at

least $500,000.00.

          9.       Plaintiffs assert Count I of this Complaint, on behalf of themselves individually and

a FLSA Collective of similarly-situated female employees, for violations of the Equal Pay Act.

Plaintiffs seek to recover damages for the FLSA Collective and themselves, including, but not

limited to, back pay, liquidated damages, reasonable attorneys’ fees, and litigation costs.




1
    https://www.speedway.com/About/


                                                 3
         Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 4 of 15




                                JURISDICTION AND VENUE

       10.     This Court has subject matter jurisdiction over this suit pursuant to the Equal Pay

Act of 1963, 29 U.S.C. § 206, et seq.and 28 U.S.C. § 1331.

       11.     Venue is proper in this District pursuant to 28 U.S.C § 1391(b). The unlawful

employment practices complained of infra took place within this District and a substantial part of

the events and omissions giving rise to Plaintiffs’ claims occurred in this District. Further,

Speedway regularly transacts substantial business within this District.

       12.     Upon information and belief, Defendant regularly conducts business in this district.

       13.     This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

                                 FACTUAL ALLEGATIONS

       14.     Within Speedway’s convenience stores, Speedway maintains strict, centralized

control over its employees, which includes hiring and wage decisions. In order to maintain this

control, Speedway has a rigid top down, hierarchical corporate structure.

       15.     General Managers working in Speedway’s convenience stores report directly to a

District Manager.

       16.     Upon information and belief, Speedway’s District Managers report to its Regional

Managers.

       17.     Speedway’s District Managers, in conjunction with Speedway’s executive

leadership, execute a top down wage policy, which consistently, systematically, and willfully pays

female salaried General Managers less than their male colleagues, that work in the same position,

and perform the same work.

       18.     Speedway’s deliberate gender discrimination against women manifests itself in the

pay rate of salaried General Managers throughout Speedway’s convenience stores.


                                             4
         Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 5 of 15




        19.     The wage disparity between female and male salaried General Managers within

Speedway’s convenience stores is based solely on gender.

         PLAINTIFF LUDWIG’S EXPERIENCE AS A SPEEDWAY EMPLOYEE

        20.     Ms. Ludwig first worked at a Speedway in 2014.

        21.     Between her date of hire and termination in 2018, Ms. Ludwig worked at Speedway

locations in Richboro, Pennsylvania and Philadelphia, Pennsylvania as well as other locations in

Pennsylvania.

        22.     Ms. Ludwig’s last position within Speedway was as a salaried General Manager

from approximately March 2015 until she left on or about January 2018.

        23.     When Ms. Ludwig was hired at approximately $32,000 per year and when she left

her salary was approximately 35,000.00 per year.

        24.     Ms. Ludwig was aware that at the time she was hired her starting salary was less

than males who were being hired from outside Speedway, as the males had starting salaries of even

$5,000.00 more than Ms. Ludwig.

        25.     Ms. Ludwig was also aware that she was training the incoming male General

Managers, and while she had been with the company and experienced enough in the position to

train the incoming managers, the incoming male managers were being hired at salaries higher than

hers.

        26.     Ms. Ludwig was an exemplary employee for Speedway who was consistently and

willfully paid less than her male colleagues with the same title performing the same job

responsibilities. Speedway had no basis, other than gender, to pay Ms. Ludwig less than her male

colleagues. Speedway’s actions were deliberate and willful violations of the Equal Pay Act.

        PLAINTIFF CARRASQUILLO’S EXPERIENCE AS A SPEEDWAY EMPLOYEE
        27.     Ms. Carrasquillo first worked at a Speedway in 2018.



                                            5
         Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 6 of 15




       28.     From approximately March 2018 until the date she was terminated in February

2019, Ms. Carrasquillo worked at Speedway as a General Manger. Ms. Carrasquillo worked in

both Willow Grove, and Philadelphia, Pennsylvania Speedway stores.

       29.     Ms. Carrasquillo’s last position within Speedway was as a salaried General

Manager when her employment was terminated in or about February 2019.

       30.     When Ms. Carrasquillo was hired as a General Manager, her salary was

approximately $37,000 per year.

       31.     Ms. Carrasquillo was aware that at the time she was hired her starting salary was

less than males who were being hired from outside Speedway, as the males had starting salaries of

over $40,000.00, which was more than Ms. Carrasquillo.

       32.     Ms. Carrasquillo was also aware that she was training the incoming male General

Managers, and while she had been with the company and experienced enough in the position to

train the incoming managers, and that she had a bigger store then the incoming male managers,

the incoming male managers, being hired for smaller stores and being trained by Ms. Carrasquillo,

were being hired at salaries higher then hers.

       33.     Ms. Carrasquillo was a good employee for Speedway who was consistently and

willfully paid less than her male colleagues with the same title performing the same job

responsibilities. Speedway had no basis, other than gender, to pay Ms. Carrasquillo less than her

male colleagues. Speedway’s actions were deliberate and willful violations of the Equal Pay Act.

       PLAINTIFF DE BLOCK’S EXPERIENCE AS A SPEEDWAY EMPLOYEE

       34.     Ms. De Block first worked at a Speedway in approximately 2014, when the location

she was working at changed ownership from a Hess convenience store where she had been

employed to a Speedway store.




                                             6
         Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 7 of 15




       35.     Between her date of hire and termination in July 2017, Ms. De Block worked at tge

Speedway location in Franklin, New Jersey. Ms. De Block also occasionally worked in other

locations such as Butler New Jersey, as well.

       36.     Ms. De Block’s last position within Speedway was as a salaried General Manager

from 2014 until she left on or about July, 2017.

       37.     When Ms. De Block was working as a General Manager for Speedway her salary

was approximately $35,000 per year.

       38.     Ms. De Block was aware that at the time she was working for Speedway her salary

was less than males who were working at Speedway as General Managers, and who were earning

$10,000.00 to $15,000.00 more. Ms. De Block knew this as the result of seeing a list of General

Managers salaries.

       39.     Ms. De Block was a long term employee for Speedway who was consistently and

willfully paid less than her male colleagues with the same title performing the same job

responsibilities. Speedway had no basis, other than gender, to pay Ms. De Block less than her

male colleagues. Speedway’s actions were deliberate and willful violations of the Equal Pay Act.

       COLLECTIVE ACTION ALLEGATIONS UNDER THE EQUAL PAY ACT

       40.     Speedway has engaged in systemic gender discrimination against its female

employees. Speedway has caused, contributed to, and perpetuated gender-based pay disparities

through common policies, practices, and procedures, including but not limited to common

compensation and centralized decision-making.

       41.     Plaintiffs re-allege and incorporate by reference each and every allegation in the

previous paragraphs alleging common policies, practices, and procedures resulting in unequal pay

earned by female employees in Speedway’s convenience stores.




                                             7
         Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 8 of 15




       42.         Plaintiffs bring this claim for violations of the Equal Pay Act as a collective action

pursuant to 29 U.S.C. § 216(b) on behalf of all members of the FLSA Collective. The FLSA

Collective is defined as follows:

       All female employees who are or have been employed by Defendant Speedway
       LLC. as salaried General Managers from three (3) years prior to the filing date of
       this Complaint up until judgment is entered in this action.

       43.         Plaintiffs seek to represent all female General Managers, as described above, who

were paid less than male employees for doing similar work. The systemic gender discrimination

described in this Complaint has been, and is, continuing in nature.

       44.         Questions of law and fact common to the FLSA Collective and Plaintiffs include

but are not limited to the following:

              a. Whether Speedway unlawfully failed and continues to unlawfully fail to

                   compensate female General Managers at a level commensurate with comparable

                   male employees;

              b. Whether Speedway’s policy, practice, or procedure of failing to compensate female

                   General Managers at a level commensurate with comparable male employees

                   violates the applicable provisions of the Equal Pay Act; and

              c.   Whether Speedway’s failure to compensate female General Managers at a level

                   commensurate with comparable male employees was willful within the meaning of

                   the Equal Pay Act.

       45.         Plaintiff’s Equal Pay Act claim may be maintained as an “opt-in” collective action

pursuant to 29 U.S.C. 216(b) because Plaintiffs are similarly-situated to the female employees

described in the FLSA Collective. Plaintiffs’ claims are similar to the claims asserted by the FLSA

Collective.




                                                 8
          Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 9 of 15




        46.     Plaintiffs and the FLSA Collective are (a) similarly situated; and (b) are subject to

Speedway’s common compensation policies, practices and procedures and centralized decision-

making resulting in unequal pay based on sex by failing to compensate female General Managers

at a level commensurate with male employees who perform substantially equal work and/or hold

equivalent levels, job titles, and positions.

                                         COUNT I
                 (INDIVIDUAL AND COLLECTIVE ACTION CLAIM)
          VIOLATION OF THE FAIR LABOR STANDARDS ACT OF 1938, AS
        AMENDED BY THE EQUAL PAY ACT OF 1963 (“EQUAL PAY ACT”),
        29 U.S.C. § 206, ET SEQ. DENIAL OF EQUAL PAY FOR EQUAL WORK
                (Asserted by Plaintiffs and the Collective Action Members)

        47.     Plaintiffs re-allege and incorporate by reference each and every allegation in the

previous paragraphs as though fully set forth herein.

        48.     This Count is brought on behalf of Plaintiffs and all members of the FLSA

Collective against Defendant Speedway LLC.

        49.     Speedway is an employer of Plaintiffs and the members of the FLSA Collective

within the meaning of the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. § 206, et seq.,

as amended by the Equal Pay Act.

        50.     Speedway has discriminated against Plaintiffs and the members of the FLSA

Collective by paying them less than similarly-situated male employees who performed jobs which

required equal skill, effort, and responsibility, and which were performed under similar working

conditions.

        51.     Defendant discriminated against Plaintiffs and the members of the FLSA Collective

by subjecting them to common discriminatory pay and performance management policies,

including discriminatory salaries in violation of the Equal Pay Act.




                                                9
         Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 10 of 15




       52.       The differential in pay between Plaintiffs and the members of the FLSA Collective

and similarly-situated male employees was not due to seniority, merit, quantity or quality of

production, or a factor other than sex, but was, in fact, due exclusively to sex.

       53.       Speedway caused, attempted to cause, contributed to, and caused the continuation

of wage rate discrimination based on sex in violation of the Equal Pay Act.

       54.       Speedway intentionally paid Plaintiffs and the members of the FLSA Collective

less than similarly-situated male employees in violation of the Equal Pay Act. The foregoing

conduct constitutes a willful violation of the Equal Pay Act within the meaning of 29 U.S.C. §

255(a). Because Speedway has willfully violated the Equal Pay Act, a three (3) year statute of

limitations applies to such violations pursuant 29 U.S.C. § 255(a).

       55.       As a result of Speedway’s unlawful conduct, Plaintiffs as well as the members of

the FLSA Collective suffered and will continue to suffer harm, including, but not limited to, lost

earning, lost benefits, lost future employment opportunities, and other financial losses, as well

non-economic damages.

       56.       Plaintiffs and the FLSA Collective are entitled to all legal and equitable remedies

available for violations of the Equal Pay Act, including, but not limited to, back pay, liquidated

damages, pre-judgment and post-judgment interest, reasonable attorneys’ fees and litigations

costs, and other compensation pursuant to 29 U.S.C. § 216(b).

                                 PRAYER FOR RELIEF ON COUNT I

       WHEREFORE, Plaintiffs, on behalf of themselves and the FLSA Collective, prays that

this Court:

       A.      Designate this action as a collective action on behalf of the proposed FLSA
Collective and

              1. Promptly issue notice pursuant to 29 U.S.C § 216(b) to all similarly-situated
                 members of the FLSA Collective, which (1) apprises them of the pendency of this


                                             10
        Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 11 of 15




               action, and (2) permits them to assert timely Equal Pay Act claims in this action by
               filing individual Consent to Join forms pursuant to 29 U.S.C. § 216(b); and

            2. Equitable Tolling of the statute of limitations on the claims of all members of the
               FLSA Collective from the date the original complaint was filed until the members
               of the FLSA Collective are provided with reasonable notice of the pendency of this
               action and a fair opportunity to exercise their rights to opt-in as Plaintiffs;

       B.      Designate Plaintiffs’ chosen counsel as counsel for the FLSA Collective;

       C.      An injunction requiring Defendant to cease its unlawful practices;

       D.     Declare and adjudge that Speedway’s employment decisions, policies, practices,
and/or procedures challenged herein are harmful and in violation of the Equal Pay Act;

         E.      Award back pay to Plaintiffs and the members of the FLSA Collective, including a
sum to compensate Plaintiffs and the members of the FLSA Collective for any increased tax
liability on a lump-sum award of back pay;

        F.   Award liquidated damages to Plaintiffs and the members of the FLSA Collective
in the maximum amount available under the Equal Pay Act;

       G.       Award litigation costs and expenses, including, but not limited to, reasonable
attorneys’ fees, to Plaintiffs and the members of the FLSA Collective;

      H.      Award Plaintiffs and the members of the FLSA Collective pre-judgment and post-
judgment interest available under the Equal Pay Act;

       I.       Award Plaintiffs and the members of the FLSA Collective any other appropriate
equitable relief; and

       J.      Award any additional relief that this Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury on all issues so triable.




                                             11
Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 12 of 15
       Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 13 of 15


                                   EXHIBIT "A"

                      CONSENT TO BECOME A PARTY PLAINTIFF
        1.1 consent to be a party plaintiff in a lawsuit against Defendant(s), Speedway & Country
Stores, Inc., and/or related entities and individuals brought under the Fair Labor Standards Act, as
amended, 29 U.S.C. §§201, etseq., including under 29 U.S.C. § 216(b), in order to seek redress
for violations of the Equal Pay Act, 29 U.S.C. § 206(d).

        2.1 hereby designate the Hepworth, Gershbaum & Roth, PLLC to represent me in
bringing such claim, and to make decisions on my behalf concerning the litigation and settlement.
I agree to be bound by any adjudication of this action by the Court, whether It is favorable or
unfavorable.


       3.1 also consent to join any other related action against Defendant(s) or other potentially
responsible parties to assert my claim and for this Consent Form to be filed in any such action.



Signature

Susan Ludwig
Printed Name
       Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 14 of 15


                                      EXHIBIT "B"

                      CONSENT TO BECOME A PARTY PLAINTIFF
        1.1 consent to be a party plaintiff in a lawsuit against Defendant(s), Specdway & Country
Stores, Inc., and/or related entities and individuals brought under the Fair Labor Standards Act, as
amended, 29 U.S.C. §§201, etseq., including under 29 U.S.C. § 216(b), in order to seek redress
for violations of the Equal Pay Act, 29 U.S.C. § 206(d).

        2.1 hereby designate the Hepworth, Gershbaum & Roth, PLLC to represent me in
bringing such claim, and to make decisions on my behalf concerning the litigation and settlement.
I agree to be bound by any adjudication of this action by the Court, whether it is favorable or
unfavorable.


       3.1 also consent to join any other related action against Defendant(s) or other potentially
responsible parties to assert my claim and for this Consent Form to be filed in any such action.

^&u
Signature

Sheila Carrasquillo
Printed Name
        Case 2:20-cv-00824-GAM Document 1 Filed 02/12/20 Page 15 of 15


                                        EXHIBIT "C"

                       CONSENT TO BECOME A PARTY PLAINTIFF
         1.1 consent to be a party plaintiff in a lawsuit against Defendant(s), Speedway & Country
Stores, Inc., and/or related entities and individuals brought under the Fair Labor Standards Act, as
amended, 29 U.S.C. §§ 201,etseq., including under 29 U.S.C. § 216(b), in order to seek redress
for violations of the Equal Pay Act, 29 U.S.C. § 206(d).

        2. I hereby designate the Hepworth, Gershbaum & Roth, PLLC to represent me in
bringing such claim, and to make decisions on my behalf concerning the litigation and settlement.
I agree to be bound by any adjudication of this action by the Court, whether it Is favorable or
unfavorable.


       3.1 also consent to join any other related action against Defendant(s) or other potentially
responsible parties to assert my claim and for this Consent Form to be filed in any such action.
                •L/0


Signature

Nancy De Block
Printed Name
